                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )      No.:     3:13-CR-45-TAV-CCS-21
                                             )
JUNIOR LEE PHILLIPS,                         )
                                             )
              Defendant.                     )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motions for a sentence

reduction [Docs. 1362, 1633]. In the defendant’s motion, the defendant requests that the

Court resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with

Amendment 782 and Amendment 788 to the United States Sentencing Guidelines

Manual. The government has responded [Doc. 1650], deferring to the Court’s discretion

as to whether, and to what extent, to grant any such reduction, subject to the limitations

of 18 U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in section 3553(a) to
      the extent that they are applicable, if such a reduction is consistent with
      applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

that the defendant is eligible for a sentence reduction, then “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would

have been applicable to the defendant had the relevant amendment been in effect at the

time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

than substituting Amendment 782 for the corresponding provision applicable when the
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defendant was originally sentenced, the Court “shall leave all other guideline application

decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

term “less than the term of imprisonment the defendant has already served.” Id. §

1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

also consider the § 3553 factors and the danger to the public created by any reduction in a

defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. Id.

II.      Analysis

         Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

Sentencing Guidelines Manual App. C, amend. 782.               Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on

November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.

         Section 1B1.10 of the Sentencing Guidelines addresses reductions under §

3582(c)(2):



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         Section 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B). That is the case here.
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             In determining whether, and to what extent, a reduction in the
             defendant’s term of imprisonment under 18 U.S.C. §
             3582(c)(2) and this policy statement is warranted, the court
             shall determine the amended guideline range that would have
             been applicable to the defendant if the amendment(s) to the
             guidelines listed in subsection (d) had been in effect at the
             time the defendant was sentenced.

U.S. Sentencing Guidelines Manual § 1B1.10(b). Amendment 782 is listed in subsection

(d). Id. § 1B1.10(d).

      A defendant’s amended guidelines range is calculated by using the procedures set

forth in section 1B1.1(a). Id. § 1B1.10 cmt. n.1(A); United States v. Joiner, 727 F.3d

601, 604 (6th Cir. 2013). Accordingly, in calculating a defendant’s amended guidelines

range, the reviewing court ordinarily must first substitute the revised base offense level

provided by Amendment 782 and then apply the trumping provisions of sections 5G1.1

and 5G1.2 as appropriate. See Joiner, 727 F.3d at 605 (discussing the procedure for

calculating a defendant’s amended guideline range in light of the revised base offense

levels for crack cocaine offenses provided by Amendment 750).

      Section 5G1.1 provides, in relevant part, that “[w]here the statutorily required

minimum sentence is greater than the maximum of the applicable guideline range, the

statutorily required minimum sentence shall be the guideline sentence.” U.S. Sentencing

Guidelines Manual § 5G1.1(b).      Section 5G1.2 provides, in relevant part, that “the

sentence to be imposed on a count for which the statute (1) specifies a term of

imprisonment to be imposed; and (2) requires that such term of imprisonment be imposed




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to run consecutively to any other term of imprisonment, shall be determined by that

statute and imposed independently.” Id. § 5G1.2(a).

       Therefore, defendants whose sentences were subject to the trumping provisions of

sections 5G1.1 and 5G1.2 ordinarily are not eligible for a sentence reduction as a result of

Amendment 782, because their original sentences were not based on a sentencing range

that has subsequently been lowered by the Sentencing Commission, and a reduction

would not be permitted by the applicable policy statements issued by the Sentencing

Commission. See Joiner, 727 F.3d at 604–09 (finding that a defendant was not eligible

for a sentence reduction under Amendment 750); United States v. Williams, 512 F. App’x

594, 597–600 (6th Cir. 2013) (same).

       Section 1B1.10(c) alters this analysis for defendants who have received a

departure below a mandatory minimum sentence for their substantial assistance to the

government. See 18 U.S.C. § 3553(e) (providing that a departure below a mandatory

minimum sentence for a defendant’s substantial assistance “shall be imposed in

accordance with the guidelines and policy statements issued by the Sentencing

Commission pursuant to section 994 of title 28, United States Code”). For this class of

defendants, “the amended guideline range shall be determined without regard to the

operation of § 5G1.1 (Sentencing on a Single Count of Conviction) and § 5G1.2

(Sentencing on Multiple Counts of Conviction).” U.S. Sentencing Guidelines Manual §

1B1.10(c).




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       Here, the defendant is among the class of defendants covered by section

1B1.10(c). Before the defendant’s sentencing, the government moved for a downward

departure pursuant to 18 U.S.C. § 3553(e) and section 5K1.1 of the Sentencing

Guidelines [Doc. 804]. The Court granted that motion and sentenced the defendant to

240 months’ imprisonment, which is 33 percent below the defendant’s restricted

guideline range [Doc. 848]. Therefore, as the government concedes, the defendant is

eligible for a sentence reduction pursuant to § 3582(c)(2).

       Because the trumping provisions of sections 5G1.1 and 5G1.2 no longer apply, the

Court calculates the defendant’s amended guideline range by first substituting the

appropriate revised base offense level provided by Amendment 782, and then making any

adjustments in accordance with the defendant’s original sentence. Id. § 1B1.10(b)(1)

(providing that “the court shall substitute only the amendments listed in subsection (d) for

the corresponding guideline provisions that were applied when the defendant was

sentenced and shall leave all other guideline application decisions unaffected”).

Therefore, the defendant’s revised base offense level is 30, and his new total offense level

is 32. A total offense level of 32 and a criminal history category of IV results in an

amended guidelines range of 168 to 210 months’ imprisonment. Id. § 5A.

       The Court may depart downward from this amended range in an amount

comparable to the downward departure that the Court originally granted for the

defendant’s substantial assistance.    Id. § 1B1.10(b)(2)(B).      Because the defendant




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originally received a 33 percent departure from the restricted guideline range, he is

eligible for a reduced sentence of 112 months’ imprisonment.

       In determining the appropriate amount by which to reduce the defendant’s

sentence, the Court considers the sentencing factors set forth in 18 U.S.C. § 3553(a), the

nature and seriousness of the danger to any person or the community that may be posed

by a reduction in the defendant’s term of imprisonment, and the defendant’s post-

sentencing conduct. 18 U.S.C. § 3582(c)(2); U.S. Sentencing Guidelines Manual §

1B1.10 cmt. n.1(B).

       The Court finds as an initial matter that the § 3553(a) factors that applied at the

time of the defendant’s sentencing also apply today. In regard to these factors and in the

context of the instant motion, the Court considers the nature and circumstances of the

defendant’s offense and his role in the offense, along with his history and characteristics.

       The Court also considers the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical

care, or other correctional treatment.2 Further, the Court considers the kinds of sentences

available and the sentencing range, the need to avoid unwarranted disparities, and the

need to provide restitution to any victims. See 18 U.S.C. § 3553(a).


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         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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       Regarding the defendant’s post-sentencing conduct and the risk of danger to the

community resulting from a sentence reduction, the Court notes that the defendant was

sanctioned for possessing tobacco (classified as a “nonhazardous tool”) in November

2015, but that the government states that it has no other specific information to present in

opposition to a sentence reduction [Doc. 1650 p. 4]. Thus, it appears that the defendant’s

post-sentencing conduct has been acceptable, and it does not appear that a sentence

reduction will create an inordinate risk of danger to any person or the community.

       After considering section 1B1.10 and the relevant § 3553(a) factors, the Court

finds that a reduction to a term of 112 months’ imprisonment is appropriate. In making

this determination, the Court is particularly influenced by the changes in base offense

levels resulting from Amendment 782. The Court has also taken into consideration the

risk that the defendant poses to public safety, the nature and circumstances of the

defendant’s offense, the defendant’s personal history and characteristics, and the

defendant’s post-sentencing conduct.

III.   Conclusion

       For these reasons, the defendant’s motions [Docs. 1362, 1633] are GRANTED,

and the defendant’s sentence is REDUCED to 112 months’ imprisonment. If this

sentence is less than the amount of time the defendant has already served, the sentence

shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines Manual §

1B1.10(b)(2)(C).




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      Except as otherwise provided in this order, all provisions of the judgment dated

November 21, 2013 [Doc. 848], shall remain in effect.

      IT IS SO ORDERED.


                                 s/ Thomas A. Varlan
                                 CHIEF UNITED STATES DISTRICT JUDGE




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